       Case 1:23-cv-02217-RBW         Document 46       Filed 01/13/25       Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

EMERSON BRADLEY,

              Plaintiff,

v.                                         Civil Action No. 1:23-cv-02217


NELNET SERVICING, LLC,
and TRANS UNION, LLC,

              Defendants.


                            JOINT NOTICE OF SETTLEMENT

       Plaintiff EMERSON BRADLEY (“Plaintiff”) and NELNET SERVICING, LLC

(“NELNET”), by and through their respective counsel, hereby notify the Court that Plaintiff has

reached a settlement that resolves his claims against NELNET.

       Plaintiff is diligently working with NELNET to finalize their settlement documents.

Pending execution of those documents, Plaintiff and NELNET shall timely file the proper form of

dismissal.

                                                   Respectfully submitted,

                                                   EMERSON BRADLEY

                                                   By:     /s/ Drew D. Sarrett
                                                   Drew D. Sarrett (Pro Hac Vice)
                                                   CONSUMER LITIGATION
                                                   ASSOCIATES, P.C.
                                                   626 E. Broad Street, Suite 300
                                                   Richmond, VA 23219
                                                   (804) 905-9900 – Telephone
                                                   (757) 930-3660 – Fax
                                                   Email: drew@clalegal.com

                                                    Counsel for Plaintiff
Case 1:23-cv-02217-RBW   Document 46    Filed 01/13/25   Page 2 of 2




                                   By: /s/ Jonathan C. Sandler
                                   Jonathan C. Sandler
                                   Brownstein Hyatt Farber Schreck, LLP
                                   2049 Century Park East, Suite 3550
                                   Los Angeles, CA 90067
                                   310.564.8672 -Telephone
                                   JSandler@bhfs.com
                                   Counsel for Nelnet Servicing, LLC




                               2
